          Case 1:24-cv-01457-JPO Document 58-1
                                          34-2 Filed 06/03/24
                                                     04/09/24 Page 1
                                                                   2 of 18
                                                                        19




                                  UNITED STATES FEDERAL COURT
                                 SOUTHERN DISTRICT OF NEW YORK


 RODNEY JONES,

                    Plaintiff,                        Case Number: 24-1457

 v.                                                   DECLARATION OF
                                                      RODNEY JONES
 SEAN COMBS,
 JUSTIN DIOR COMBS,
 ETHIOPIA HABTEMARIAM,
 LUCIAN CHARLES GRAINGE,
 KRISTINA KHORRAM,
 CHALICE RECORDING STUDIOS,
 LOVE RECORDS,
 MOTOWN RECORDS,
 UNIVERSAL MUSIC GROUP,
 COMBS GLOBAL ENTERPRISES,
 JOHN and JANE DOES 1-10 and
 ABC CORPORATIONS. 1-10

                    Defendants.


I, Rodney Jones, declare according to 28 U.S.C. §1746 as follows:

      1. I have personal knowledge of the facts set forth herein, which I know to be true and correct,
         and if called upon to testify as a witness, I could and would competently testify thereto.
      2. Around August 2022, I received a call from Sean Combs and his assistant/employee
         Frankie Santella requesting that I produce several songs on a rhythm and blues album titled
         "The Love Album: Off the Grid" ("Love Album").
      3. Before this conversation, I was invited to Mr. Combs's house in 2021 to produce on another
         project.
      4. From September 2022 to November 2023, I produced nine songs on Mr. Combs' Love
         album. I also played several instruments on a few other songs as well.
      5. For two weeks in October of 2022, I worked at Combs enterprise and Combs global offices
         in West Hollywood training engineers.




                                                                                                      1
    Case 1:24-cv-01457-JPO Document 58-1
                                    34-2 Filed 06/03/24
                                               04/09/24 Page 2
                                                             3 of 18
                                                                  19




6. I lived with Mr. Combs for months at a time, spending holidays and birthdays with him
   and missing major family events. He was very demanding and would often deny my
   requests to go home.
7. I lived at Mr. Combs' residences in Los Angeles, California, New York City, and Miami,
   Florida. I also spent several weeks on a yacht he rented in Saint-Barthélemy, Sint Maarten,
   and the Virgin Islands.
8. While living with and working for Mr. Combs, I witnessed, experienced, and endured many
   things that went far beyond my role as a Producer on the Love album.
9. I have hundreds of hours of audio and video recordings and photos of incidents that I detail
   in my first and proposed second amended complaints.
10. Mr. Combs required that I record him constantly. He did not like to repeat himself, and I
   quickly learned that from observing him lose his temper with his staff and family if they
   failed to remember something he said a day or two prior. On several occasions, Mr. Combs
   took my cell phone and began recording himself.
11. While creating the Love Album, I was required to work out of several studios.
12. The first studio where I produced music was Chalice Recording Studios in California. We
   were supposed to work out of Chalice Recording Studios for a few weeks, but that quickly
   turned into a few months.
13. In addition to Chalice Recording Studios, I worked out of Mr. Combs' homes located at
   1550 N El Centro Ave, Los Angeles, CA 90028, 2 Star Island Dr., Miami Beach, FL 33139,
   1 Star Island Dr., Miami Beach, FL 33139, and 200 South Mapleton Drive, Los Angeles,
   CA 90024.
14. From December 23, 2022, to January 4, 2023, I worked on the Love Album from a
   recording studio Mr. Combs set up on the Yacht he rented in Saint-Barthélemy, Sint
   Maarten, and the Virgin Islands.




                                                                                             2
    Case 1:24-cv-01457-JPO Document 58-1
                                    34-2 Filed 06/03/24
                                               04/09/24 Page 3
                                                             4 of 18
                                                                  19




15. I witnessed the acquisition, use, and distribution of ecstasy, cocaine, GHB, ketamine,
   marijuana, and mushrooms.
16. I witnessed Mr. Combs display and distribute unregistered illegal firearms,
17. I witnessed Mr. Combs provide laced alcoholic beverages to minors and sex workers at his
   homes in California, New York, the Virgin Islands, and Florida.
18. I witnessed Mr. Combs’ Chief of Staff, Kristina Khorram ("KK"), instruct the staff to
   retrieve drugs so she could provide them to Mr. Combs for his consumption.
19. I witnessed Christian Combs drug and sexually assault a stewardess while we were on the
   Yacht Mr. Combs rented in Saint-Barthélemy, Sint Maarten, and the Virgin Islands. The




                                                                                          3
       Case 1:24-cv-01457-JPO Document 58-1
                                       34-2 Filed 06/03/24
                                                  04/09/24 Page 4
                                                                5 of 18
                                                                     19




      assault began in the makeshift studio on the Yacht while I was recording Christian Combs'
      autotunes rapping.
   20. On many mornings while on the Yacht with Mr. Combs, I worked out alongside him in the
      gym.
   21. I have videos of Mr. Combs and me working out on the treadmill with T.D. Jakes playing
      on the monitor. We watched T. D. Jakes sermons every morning during our workouts. At
      first, I thought it was admirable that Mr. Combs listened to sermons while working out
      until I realized he was not studying the message, he was studying the messenger's
      mannerisms. During our gym sessions, he detailed how he planned to leverage his
      relationship with Bishop T.D. Jakes to soften the impact on his public image of Cassie
      Ventura’s pending lawsuit.


Chalice Recording Studios:
      a) The Shooting
   22. On September 11, 2022, Mr. Combs held a writers and producers camp at Chalice
      Recording Studio at 845 Highland Ave, Los Angeles, CA 90038.
   23. Over 100 producers, songwriters, and other creatives attended this camp. Many of the
      attendees brought plus ones with them as well. Mr. Combs, Justin Combs, and Justin's
      friend G were also present.
   24. From my understanding, G was approximately 30 years old at the time. He is an African
      American male and is much taller than me.
   25. While at the camp, I was required to work outside of Studio A in the lounge area. On the
      early morning of September 12, 2022, from approximately 3-4:00 am, during this camp,
      Mr. Combs, Justin Combs, and G were in a heated conversation.
   26. That conversation was moved out of the studio and into a restroom adjacent to where I was
      sitting.
   27. I was approximately 2 feet away from the bathroom when I heard gunshots. I recall hearing
      multiple shots.
   28. I immediately went into a state of shock and feared that I would or could be shot next.
   29. A crowd gathered around the restroom, and when the door finally opened, Mr. Combs and
      Justin Combs exited.



                                                                                                 4
    Case 1:24-cv-01457-JPO Document 58-1
                                    34-2 Filed 06/03/24
                                               04/09/24 Page 5
                                                             6 of 18
                                                                  19




30. G was lying on the restroom floor in a fetal position, holding his torso and bleeding out
   from what I believed was somewhere near his leg/hip area.
31. Everyone stood around looking at G, and nobody was trying to help him. I was very
   frustrated by the lack of aid G was receiving, and I was determined not to let him die on
   my watch.
32. I dropped everything I was doing, ran to G, and immediately began placing pressure on
   G’s gunshot wounds.
33. As I was applying pressure on his first wound, I realized that G was gushing blood from
   another area near his leg/hip, so I decided to lift G and place him on the toilet. I asked the
   crowd to call the ambulance. I picked G up and brought him to the front of the studio
   where I believed the ambulance would be. Unfortunately, when I arrived at the front of the
   studio, I was told the ambulance was at the end of the block and refused to come to the
   studio out of fear that there was an active shooting. I had to run to the ambulance and
   inform and convince them that it was safe for them to come to the studio.
34. At this time, Mr. Combs and Justin Combs disappeared to studio G across the parking lot
   from studio A.
35. Mr. Combs gave strict instructions to inform the police that he had nothing to do with the
   shooting. He also forced me to lie to the police by telling them that G was shot standing
   outside the studio by a drive-by assailant.
36. I have a video of the restroom where G was located, and it clearly shows all of the blood
   that G lost as a result of being shot.
37. I have several writers' camp attendees who are willing to provide the Court with a sworn
   statement corroborating what I witnessed and experienced at Chalice Recording Studios.




                                                                                               5
    Case 1:24-cv-01457-JPO Document 58-1
                                    34-2 Filed 06/03/24
                                               04/09/24 Page 6
                                                             7 of 18
                                                                  19




                    This photo was taken shortly before the shooting.
   b) Sex Workers, Parties, and Excessive Drug Use
38. Mr. Combs converted the parking lot at Chalice Recording Studios into a makeshift
   nightclub. He had everything imaginable there, including a full-service bar, a massage spa,
   and hookah.
39. Every evening, Mr. Combs would host a party called "Club Love," and there would be all
   the attendees of the writer's camp, artists, and record label executives.
40. In addition to Club Love, Mr. Combs required everyone working on the Love Album to
   take laced shots of DeLeon Tequila. There was no way to tell him no. Mr. Combs felt
   anyone who refused to drink with him was suspicious and untrustworthy. At the time, I
   did not realize that he used the laced shots of alcohol to obtain and maintain control over
   the person consuming the alcohol.



                                                                                            6
       Case 1:24-cv-01457-JPO Document 58-1
                                       34-2 Filed 06/03/24
                                                  04/09/24 Page 7
                                                                8 of 18
                                                                     19




   41. Mr. Combs was not the only person who pressured everyone to take shots. His chief of
       Staff, Kristina Khorram (“KK”), and her direct reports, DeForrest Taylor, Frankie Santella,
       the A&R for Love Records, Brendan Paul, and Moy Baun, did so as well.


Drugs and Sex Trafficking:
   42. Throughout the duration of my time living with Mr. Combs, I personally witnessed Mr.
       Combs order his staff to bring him drugs and sex workers. This was a common occurrence,
       and he was never told no.
   43. On several occasions while in Miami, I was required to order sex workers from strip clubs
       in Miami, Florida. I would have to send the sex workers Ubers to Mr. Combs' property
       located at 2 Star Island in Miami, Florida. I am in possession of many Uber receipts.
   44. On several occasions, I witnessed Brendan Paul pack cocaine, TUCI, ecstasy, and
       marijuana, laced candies with marijuana and other substances in his carry-on luggage
       whenever we had to travel internationally and to other states.
Sex Trafficking:
   45. Throughout my time with Mr. Combs, I was transported from California to New York,
       Florida, Saint-Barthélemy, and the Virgin Islands.
   46. During this time, I was forced to solicit sex workers and perform sex acts to the pleasure
       of Mr. Combs. Unbeknownst to me, Mr. Combs had hidden cameras and audio devices in
       all of the rooms of his homes. I only discovered this several months into living with him
       when I had to pick up my UberEATS delivery from the security office. Usually, the
       security would bring my food deliveries to me wherever I was in Mr. Combs' home, but at
       this point, I was close and familiar with the security, so they called me to their room and
       told me I could go in and retrieve my food myself. I saw 4 to 6 large flat-screen television
       monitors at that time. Each monitor had at least 20-30 little screens in them. Each screen
       was a view of a room in and surrounding Mr. Combs' home.
   47. On the following occasions, I was forced to solicit different sex workers and bring them to
       2 Star Island Drive in Miami, Florida: 11/29/22, 11/30/22, 12/1/22, 12/2/22, 12/3/22,
       12/6/22, 1/26/23, 1/27/23, 1/28/23, 1/29/23, 1/30/23, 1/31/23, 2/1/23, 2/2/23, 2/4/23,
       2/5/23, 2/8/23, 2/9/23, 4/1/23, 4/4/23, 5/5/23, 5/6/23, 5/7/23, 5/8/23.




                                                                                                 7
       Case 1:24-cv-01457-JPO Document 58-1
                                       34-2 Filed 06/03/24
                                                  04/09/24 Page 8
                                                                9 of 18
                                                                     19




   48. For example, on July 2, 2023, Mr. Combs had a listening party in his California home.
      There were a lot of people present at this party, including Chris Brown, Justin Combs, sex
      workers, and some underaged girls. Justin Combs would typically bring the younger
      women to these parties. I have two videos of two different sex workers that Justin Combs
      brought with him to Chalice Recording Studios. I can provide the videos to the Court.
   49. This event began at 7 pm. Mr. Combs requested female sex workers and required me to
      solicit them. An hour later, several sex workers appeared. In addition to sex workers, there
      were at least five women in the crowd who appeared to be under the age of sixteen.
   50. Mr. Combs forced all the attendees to drink laced DeLeon liquor. I believe Mr. Combs
      laced the liquor with ecstasy. I have personally witnessed his staff members, Brendan Paul
      and Moy Baun, lace alcohol with ecstasy.
   51. The presence of what I perceived to be underage women made me very uncomfortable. I
      attempted to leave, and Mr. Combs forced me to stay. I had my car keys in my book bag.
      I have never lost my keys, and Mr. Combs went so far as to take my car keys to prevent me
      from leaving.
   52. After being forced to drink laced DeLeon shots, I began feeling lightheaded, and I passed
      out. I remember waking up at 4 am the following morning naked with a sex worker
      sleeping next to me.
   53. On February 2, 2023, I believe Mr. Combs drugged me. I remember waking up naked,
      dizzy, and confused. I was in bed with two sex workers and Mr. Combs. I also recall
      aimlessly wandering around the house with no clothes on. I have photos of the sex workers
      sleeping on the bed the morning after. I can provide it to the Court if necessary.


Mr. Combs Offered Me Cocaine:
   54. On Thanksgiving night of 2022, at Mr. Combs' home in Miami, Florida, he asked me and
      DeForrest Taylor to enter the bathroom in his studio.
   55. He asked us for a hundred-dollar bill because he wanted us to do cocaine with him.
   56. I was deathly afraid. Luckily, I did not have a hundred-dollar bill. Mr. Combs waited a
      little later to do cocaine with Yung Miami.




                                                                                                8
      Case
      Case1:24-cv-01457-JPO
           1:24-cv-01457-JPO Document
                             Document34-2
                                      58-1 Filed
                                           Filed04/09/24
                                                 06/03/24 Page
                                                          Page10
                                                               9 of
                                                                 of18
                                                                    19




   57. On many different occasions, Mr. Combs often required me to solicit sex workers from
      Booby Trap on the River, located at 3615 NW S River Dr, Miami, FL 33142. I did as he
      asked, and Mr. Combs forced me to engage in unsolicited sex acts with these workers.
   58. Mr. Combs personally trained me how to solicit sex workers from Booby Trap on the River.
      I have a recording of the evening and can provide it to the Court.
   59. In addition to providing me with training, Mr. Combs gave me an exclusive Bad Boy
      baseball cap and required me to wear it to Booby Trap on the River as a signal to any sex
      worker I approached that Mr. Combs was in town and had sent me to recruit them.
   60. I had no desire to visit Booby Trap on the River. I had no desire to solicit sex workers from
      Booby Trap on the River. Mr. Combs used his power and influence to intimidate and force
      me into soliciting sex workers from Booby Trap on the River.
   61. Unbeknownst to me, these workers were accustomed to servicing Mr. Combs and would
      know that he was in town by the sight of the Bad Boys baseball cap.
   62. Mr. Combs promised me many things to entice me to continue engaging in his sex
      trafficking operation. On multiple occasions we discussed winning Grammys for the Love
      Album. He promised I would win the Grammy for Producer of the Year for the Love
      Album. He offered me $250,000.00 to purchase all the instruments I wanted. He promised
      me ownership of his $20,000,000 property, 1 Star Island, in Miami, Florida. He promised
      to give me access to record label executives like Lucian Charles Grainge and Ethiopia
      Habtemariam.
   63. On multiple occasions, when Mr. Combs hosted parties at his homes in LA and Miami,
      many music label executives from Universal Music Group (“UMG”) and Motown Records
      were present.
   64. Some of the other organizations represented were Apple Music and Spotify who were at
      Mr. Combs house in April 2023 for a listening party and a after party.


Sexually Assaulted by Yung Miami’s Cousin:
   65. As previously mentioned, during the Thanksgiving gathering at Mr. Combs' home in
      Miami, Florida, Mr. Combs offered me cocaine. I rejected his offer and walked into the
      restroom, which was off to the right after you entered his home studio.




                                                                                                  9
       Case 1:24-cv-01457-JPO Document 58-1
                                       34-2 Filed 06/03/24
                                                  04/09/24 Page 10
                                                                11 of 18
                                                                      19




   66. While using the restroom, Yung Miami's cousin burst into the bathroom and began groping
       me. I honestly believed that Mr. Combs sent her in there to sexually assault me as I could
       hear him and the other guest laughing outside the door. As she entered the bathroom, she
       dropped to her knees and began performing oral sex on my exposed penis. I pushed her
       away and exited the bathroom. Yung Miami's cousin did not accept my rejection and
       followed me out of the bathroom. She started undressing in front of everyone and
       attempted to straddle me and have sex with me in the presence of Mr. Combs and his staff.
       They were all laughing.
   67. Despite the lack of assistance from Mr. Combs and his staff, I pushed her off. I can provide
       photos and videos of the room before this assault.


Mr. Combs Used My Admiration For Producer Stevie J To Groom Me Into Accepting Gay
Sex:
   68. I have nothing against individuals who are members of the LGBTQ+ community. I have
       family members and friends who are members of the community. I am a heterosexual
       male, and I made that point very clear to Mr. Combs.
   69. Mr. Combs would always do things in covert and overt ways to see if I would be open to
       having sex with men. Aside from physically assaulting me by groping my groin and
       buttocks, Mr. Combs showed me a video of music producer Steven Aaron Jordon
       penetrating a Caucasian man.
   70. Stevie J was part of the Bad Boy Records production team, the Hitmen, and had worked
       for Mr. Combs for nearly 30 years. He produced many hit songs and won a Grammy
       Award for his work on Mr. Combs album. This was the same Grammy that Mr. Combs
       promised I would win for the Love Album.
   71. As a young producer, I admired Stevie J’s success. Mr. Combs knew this, as we had many
       discussions about it. He used access to Stevie J and his knowledge of my admiration of
       Stevie J to groom and entice me to engage in homosexual acts.
   72. Mr. Combs went so far as to share a video of who he claimed was Stevie J anally penetrating
       a Caucasian male without a condom. I honestly believed that Mr. Combs showed me this
       and attributed it to Stevie J to see my reaction and to ease my anxiety concerning sex with




                                                                                                10
      Case 1:24-cv-01457-JPO Document 58-1
                                      34-2 Filed 06/03/24
                                                 04/09/24 Page 11
                                                               12 of 18
                                                                     19




      men. The person in the video looked like and sounded like Stevie J. I honestly believed
      it was him.
   73. Mr. Combs told me that "this is a normal practice in the music industry; look even Stevie
      J is doing it.” he also shared that there are many other known artists who engage in sexual
      intercourse with men.
   74. During my time living with Mr. Combs, I have personally witnessed these men and others
      visit his houses and disappear into his bedroom for hours. Several of these men own record
      labels and have notable catchphrases like "and another one" or "Maybach Music." I can
      provide those names at the Court's request.


Cuba Gooding Junior Sexually Assaulted Me:
   75. I believe Mr. Combs was grooming me to pass me off to his friends, and my fear became
      a reality when he introduced me to Cuba Gooding Jr. while we were on his Yacht. During
      the introduction, he suggested that Cuba "get to know” me better. He then left me alone
      with him in a makeshift studio on the Yacht.
   76. Cuba Gooding Jr. touched, groped, and fondled my legs, upper inner thighs near my groin,
      the small of my back near his buttocks, and his shoulders.
   77. This made me extremely uncomfortable, and I tried to lean away from Mr. Gooding Jr. I
      rejected his advances, but Mr. Gooding Jr. did not stop until I forcibly pushed him away.


Drug Use and Distribution:
   78. On several occasions, Mr. Combs informed me that the executives at the parties in his
      homes were Lucian Charles Grainge, Ethiopia Habtemariam, and other talent acquisition
      representatives from UMG and Motown. Mr. Combs often left the parties when these
      executives appeared and took them to his bedroom. They would be gone for several hours.
      Although I saw who Mr. Combs was referring, I never personally met with or spoke to
      Lucian Charles Grainge, Ethiopia Habtemariam, or any other executive who was present
      at these parties. I was prohibited from doing so, as meeting or being introduced to them
      was a privilege I would have to earn through loyalty and obedience to Mr. Combs. Mr.
      Combs personally informed me that these executives were present and always told me they
      came to scout talent.



                                                                                              11
   Case 1:24-cv-01457-JPO Document 58-1
                                   34-2 Filed 06/03/24
                                              04/09/24 Page 12
                                                            13 of 18
                                                                  19




79. In addition to the previous paragraphs, Mr. Combs often switched his approach to force me
   to obey and comply with his demands. On multiple occasions, he would threaten me with
   physical harm. Mr. Combs threatened to eat my face and informed me that he was willing
   to kill his mother to get what he wanted so he wouldn't think twice about harming me.
80. Mr. Combs would also make me work out of this bedroom whenever he had gang members
   and drug dealers visit him. I have witnessed Mr. Combs hand out guns from the hidden
   room in his bedroom closet. The individuals who received these guns were often dressed
   in black.
81. I have also seen individuals bring bags of cash to Mr. Combs' home. Mr. Combs informed
   me that this money came from UMG. I have witnessed known gang members at his home
   in LA and Miami be paid from the stacks of cash he has in the hidden room in his bedroom
   closet. I have seen Mr. Combs bring the cash-out and place it on his bedroom table, bed,
   or couch. Other than Mr. Combs, the only individual I have witnessed enter the hidden
   room in his bedroom closet was Mr. Combs' Chief of Staff Kristina Khorram (“KK”). She
   was allowed to remove cash and drugs from the hidden room in his bedroom closet.
82. During the thirteen months I lived and traveled with Mr. Combs, I witnessed KK openly
   order her assistants to keep Mr. Combs “high” off laced gummies and pills. I have a
   recording taken on a Yacht that Mr. Combs rented just before Christmas 2022 to shortly
   after New Year's 2023. In this recording, you will hear Mr. Combs coaching Comedian
   Amy Schumer how to rap, and KK is in the background instructing her staff to get Mr.
   Combs laced narcotic gummies.
83. KK also required all employees, from the butler and the chef to the housekeepers, to walk
   around with a pouch or fanny pack filled with cocaine, GHB, ecstasy, marijuana gummies
   (100 - 250 mg each), and Tuci (a pink drug that is a combination of ecstasy and cocaine).
84. KK ordered and distributed ecstasy, cocaine, GHB, ketamine, marijuana, and mushrooms
   to Mr. Combs and his celebrity guests who were present on his rented Yacht, and in his
   homes in LA, NYC, and Miami.
85. On multiple occasions, KK forced me to carry Mr. Combs' drug pouch against my will. I
   had to carry the pouch to the Booby Trap strip club in Miami.
86. Brendan Paul always carried the black pouch with him. I have videos and photos of this,
   and I can provide them to the Court.



                                                                                           12
      Case 1:24-cv-01457-JPO Document 58-1
                                      34-2 Filed 06/03/24
                                                 04/09/24 Page 13
                                                               14 of 18
                                                                     19




   87. Brendan Paul would transport the drugs through his carry-on luggage while flying with Mr.
      Combs. Mr. Combs informed us that TSA does not check for narcotics and other drugs in
      carry-on luggage. On several occasions, I witnessed Brendan Paul pack cocaine in his
      carry-on luggage before taking international trips with Mr. Combs.
   88. As the Chief of Staff, KK was instrumental in organizing and executing Mr. Combs
      criminal Enterprise. KK had the following individuals execute the following tasks for the
      enterprise: Brendan Paul and DeForrest Taylor.
   89. On the following dates, I witnessed either DeForrest Taylor, Brendan Paul, or KK procure,
      transport, and distribute ecstasy, cocaine, GHB, ketamine, marijuana, mushrooms, and
      Tuci by packing these substances in their carry-on luggage and going through TSA:
      11/22/2022, 12/22/2022, 04/28/2023, and 11/4/2023. The destinations for these trips were:
      Los Angeles, California; Miami, Florida; Saint Barthélemy; and London, England.


Mr. Combs Advises That He Does Not Pay For Anything:
   90. Throughout my time living with Mr. Combs, he made it very clear that he did not spend
      his money on anything. He made it clear that he had partnerships and relationships with
      very powerful individuals and organizations, and these individuals and organizations
      funded his lifestyle.
   91. Mr. Combs told me that he had a long-standing relationship with UMG, Lucian Charles
      Grainge, and Ethiopia Habtemariam. He shared that when he was creating Love Records,
      he informed Ethiopia Habtemariam and other label executives, like L. A. Reid. Mr. Combs
      intended to partner with L. A. Reid and his label HitCo, but L. A. Reid informed him that
      he was negotiating the sale of the label. Mr. Combs told me that Ethiopia Habtemariam
      and Motown were his second option.
   92. Mr. Combs informed me that he met with Lucian Charles Grainge, CEO of UMG, and
      Ethiopia Habtemariam, CEO of Motown Records, to negotiate the terms of the partnership.
   93. Mr. Combs told me that Lucian Charles Grainge and Ethiopia Habtemariam agreed to
      partner with him to establish Love Records. As part of their partnership, they agreed to
      distribute the first and second Love Albums.
   94. Mr. Combs informed me that UMG paid for Club Love, Chalice Recording Studios, and
      the Yacht, which he chartered from December 2022 to January 2023.



                                                                                             13
   Case 1:24-cv-01457-JPO Document 58-1
                                   34-2 Filed 06/03/24
                                              04/09/24 Page 14
                                                            15 of 18
                                                                  19




95. My counsel informed me that UMG claims that they had a distribution deal with Mr.
   Combs, and that they agreed to pay him for any approved invoices for the creation of the
   Love Album. I have to disagree with UMG’s statements because Mr. Combs never paid
   me or several producers I know who worked on the Love Album.
96. My counsel informed me that UMG claims that they did not pay for sex workers or
   sponsored any of the club loves parties, or the writers camp. These claims are contradicted
   by the reality I saw with my own eyes. There were employees of UMG and Motown
   present at the writer’s camp, at listening parties, and after parties. I was told by Mr. Combs
   they were there, and I saw them there. Mr. Combs told me they were scouting for talent.
   As it pertains to the sex workers, they also paid for them. I have several videos of the
   Chalice Recording Studio sessions, as well as in home recording sessions and there are sex
   workers and producers in the studio. The sex workers in these videos were the only
   individuals paid.
97. The following are screenshots of these recording sessions which took place in Chalice
   Recording Studios and in Mr. Combs home:




                                                                                              14
     Case 1:24-cv-01457-JPO Document 58-1
                                     34-2 Filed 06/03/24
                                                04/09/24 Page 15
                                                              16 of 18
                                                                    19




This Video Was Taken On January 29, 2023 Inside Sean Combs Home Located At 2 Star
                            Island in Miami Florida




                                                                               15
      Case 1:24-cv-01457-JPO Document 58-1
                                      34-2 Filed 06/03/24
                                                 04/09/24 Page 16
                                                               17 of 18
                                                                     19




  This Video Was Taken On September 30, 2022 Inside Chalice Recording Studio Justin
                   Combs Solicited The Sex Worker In This Video




  This Video Was Taken On September 15, 2022 Inside Chalice Recording Studio Justin
                   Combs Solicited The Sex Worker In This Video

Mr. Combs Bragged About "Having Fun and Not Getting Caught"
   98. In a recording I can provide the Court, and on multiple other occasions, Mr. Combs shared
      wild stories of his 30+ years in the music industry. He shared how he would get things by




                                                                                             16
   Case 1:24-cv-01457-JPO Document 58-1
                                   34-2 Filed 06/03/24
                                              04/09/24 Page 17
                                                            18 of 18
                                                                  19




   force. This included record deals, signatures on contracts, sex acts from women and men,
   as well as the women of his enemies.
99. For example:
       a. Mr. Combs bragged about having Daphne Joy, the child mother of a competing
          rapper, on payroll as one of his sex workers. I have a video of Mr. Combs on a
          massage table receiving a massage from a professional masseuse while Daphne Joy
          is giving him a foot massage.
       b. Mr. Combs bragged about shooting a woman in the face in 1999 in NYC and getting
          away with it. He bragged about departed attorney Johnny Cochran's savvy legal
          skills and ability to pay off the witnesses through private investigators and other
          third parties. He bragged about having Jennifer Lopez carrying his gun into the
          club the night of the shooting and the fact that he had so much power and influence
          over her at the time. He bragged about getting Shyne to take the heat for the
          shooting and the fact that he paid Shyne through a record deal with his good friend
          L. A. Reid.
       c. Mr. Combs bragged about the power he has and the fact that he beat up record
          executive Steve Stoutes “ass.” He laughed uncontrollably as he talked about busting
          him in the head with a bottle of champagne and a chair.
       d. On another occasion, Mr. Combs bragged about beating up Gerard Rechnitzer
          outside of a nightclub in Hollywood.
       e. Mr. Combs also informed me that only poor people pay taxes. He shared that it is
          a common practice in the music industry to wire money from anonymous accounts
          overseas. This way, if there is ever a need to take care of a problem, it would never
          be traced back to him. These accounts were in Germany.
       f. Mr. Combs also shared that he invests in many shell companies and provides
          funding for businesses like Wing Stop.
100.      I could share other things, but I do not feel comfortable putting them in this
   document. I will be willing to discuss them with the Court under seal to preserve my Fifth
   Amendment rights.




                                                                                            17
Case 1:24-cv-01457-JPO Document 58-1
                                34-2 Filed 06/03/24
                                           04/09/24 Page 18
                                                         19 of 18
                                                               19
